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                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
----------------------------------------------------------------
RIC SZABO,                                                     :
                                                               : Civil Action No. 4:21-CV-00468
                  Plaintiff,                                   :
                                                               :
                                                               :
         v.                                                    :
                                                               :
MUNCY INDUSTRIES, LLC,                                         :
                                                               :
                  Defendant.                                   :
----------------------------------------------------------------

                           PLAINTIFF RIC SZABO’S MOTION
                          FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff, Ric Szabo, by and through his undersigned Counsel, respectfully moves this

Honorable Court, pursuant to Federal Rule of Civil Procedure 56, for partial summary judgment

and requests that this Court hold that Ric Szabo was a non-exempt employee of Defendant, Muncy

Industries, LLC, as a matter of law under the FLSA and the PMWA.

                                                     Respectfully submitted,

                                                     MURPHY LAW GROUP, LLC


                                             By:     /s/ Mary Kramer
                                                     Murphy Law Group, LLC
                                                     Mary Kramer, Esq.
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                                                     Attorneys for Plaintiff


Dated: September 30, 2022
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                               CERTIFICATE OF SERVICE


       I, Mary Kramer, Esq. certify that on September 30, 2022, I caused a true and accurate copy

of the foregoing to be filed by ECF filing, which will send notification of such filing to the

following counsel:

                                       Gregory A. Stapp
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                                    Attorney for Defendant


                                                           /s/ Mary Kramer
                                                           Mary Kramer, Esq.

Dated: September 30, 2022
